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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES ET AL.                               :      Case No. 3:17-CV-72

                   Plaintiff                             :      Judge MOON


                                                         :
           -v-

    JASON KESSLER ET AL.                                 :

                                                         :
                   Defendants


                   MOTION TO DISMISS THE PLAINTIFF’S COMPLAINT



          Now comes defendant National Socialist Movement and moves the Court to dismiss

    the Plaintiff’s claims against it pursuant to FRCP 12.


                                                  Respectfully Submitted,


                                                  s/ Elmer Woodard
                                                  ELMER WOODARD (VSB 27734)
                                                  5661 US Hwy 29
                                                  Blairs, Va. 24527
                                                  (434) 878-3422
                                                  isuecrooks@comcast.net
                                                  Trial Attorney for Defendant




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                                   CERTIFICATE OF SERVICE

       I hereby certify this Notice and all accompanying documents were served via
       electronic mail on November 15, 2017 upon:

       All parties of record. No party is entitled to or has requested service by other means.

                                                         s/ Elmer Woodard

                                                         E. Woodard (VSB 27734)




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